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                                                          United States Courts
                                                        Southern District of Texas
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                                                             May 26, 2021
                                                      EaƚŚĂŶKĐŚƐŶĞƌ, Clerk ofCourt


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